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Northern District of California
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Re: — United States v. John Francis Porter, Case No. 22-CR-2 70-WHO - Expert Disclosure

Dear David and Ilham:

This letter is in response to your letter dated March 2, 2023 in which you raised several
concerns regarding our expert disclosure and intent to call Ann Ravel as an expert witness at
trial. We have reviewed your letter and disagree with your contentions therein. We have
sufficiently met the disclosure requirements of Federal Rule of Criminal Procedure 16, including
the revisions recently enacted in December 2022.

First, as you know, “[a] witness may testify as an expert if he [or she] is qualified by
knowledge, skill, experience, training or education, and his [or her] testimony: (a) will help the
trier of fact understand the evidence or determine a fact in issue; (b) is based on sufficient facts
or data; (c) is the product of reliable principles or methods; and (d) reliably applies the principles
and methods to the facts of the case.” United States v. Shafi, No. 15-CR-00582-WHO-1, 2018
WL 3159769, at *2 (N.D. Cal. June 28, 2018) (Orrick, J.). Evidence is relevant if it will “assist
the trier of fact to determine and understand the facts at issue,” id., and the court serves a
gatekeeping function, ensuring that expert testimony has “a reliable basis in the knowledge and
experience of the relevant discipline.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 149
(1999).

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Here, Ms. Ravel is a qualified attorney who has extensive experience in law and policy
regarding campaign finance, conflicts of interest, and government ethics. Her testimony: (a) will
assist the trier of fact to understand the evidence and determine facts at issue — namely the nature
of “behested payments” and “friends of” organizations that were prominent during Mr. Porter’s
time at Recology and (b) is based on sufficient facts and data — to wit, the government’s
allegations concerning Lefty O’Doul’s donations in the Superseding Indictment and California
state and local laws cited in the report, including rules promulgated by the California Fair
Political Practices Commission as well as other secondary sources. Regarding the application of
reliable principles and methods, “Daubert’s general holding applies to scientific and non-
technical specialized knowledge, but importantly ‘the test of reliability is flexible,
and Daubert’s list of specific factors neither necessarily nor exclusively applies to all experts or
in every case.” Shafi, 2018 WL 3159769, at *4 (citing Kumho Tire Co., 526 U.S. at 141).
Where, as here, the proposed expert testimony “‘depends heavily on the knowledge and
experience of the expert, rather than the methodology or the theory behind it,’ Strictly
applying Daubert is not applicable.” Id. (citing United States v. Hankey, 203 F.3d 1160, 1169
(9th Cir. 2000)), Here, like the expert in Shafi, Ms. Ravel’s field of expertise depends more on
her knowledge and experience than methodology. See also United States v. Hankey, 203 F.3d
1160 (9th Cir. 2000) (expert testimony was properly admitted where experts “generally testified
based on their experience rather than based on any systematic methodology,” and that such
testimony “by itself does not undermine the reliability of their testimony.”); United States v.
Williams, 2016 WL 899145 (N.D. Cal. 2016) (Orrick, J.) (same).

Second, contrary to your contentions, Ms. Ravel’s opinion at paragraphs 17 and 41 of the
report that the Lefty O’Doul’s payments resemble behested payments and that Mr. Porter’s
approval of such payments were consistent with state and local law is appropriate and well-
founded based on her knowledge and experience. While we believe Ms. Ravel’s report to be
sufficient for the aforementioned reasons, we will attempt to address some of the points of
clarification raised in your March 2, 2023 letter.

Ms. Ravel’s testimony is limited. She reviewed the Superseding Indictment and
identified that the payments to Lefty O’Doul’s Foundation for Kids as they were described in
that indictment—a request by a government employee that a corporate entity donate to a
nonprofit for a city purpose—are behested payments, which were and are common in California
and San Francisco generally. At the time, in California and locally, there was no prohibition
against such payments. That is the extent of Ms. Ravel’s anticipated testimony. The report
details Ms. Ravel’s significant experience supporting her opinions, explains with citations to
sources demonstrating that behested payments were common, and identifies the applicable law
on that issue. If the government’s question is whether Ms, Ravel will testify that Mr. Porter’s
conduct was Jegal in general terms or otherwise did not violate federal law, she will not. Ms.
Ravel is not testifying about the charges at issue (i.e. bribery and honest services mail and wire
fraud) nor whether Mr. Porter intended to bribe Mohammed Nuru. Rather, her testimony will
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provide important context, which is key to understanding the circumstances surrounding Mr.
Porter’s actions and decisions.

We believe bullet points 1-3 on page 2 of your March 2, 2023 letter are various iterations
of the same question and can be answered together. In response to bullet points 1-3 of your
letter, as indicated in her report, Ms. Ravel intends to testify that the payments to Lefty O’Doul’s
Foundation for Kids alleged in the Superseding Indictment resemble the legal definition of a
behested payment as provided by the California Fair Political Practices Commission rules. To be
clear, the California Fair Political Practices Commission rules provide that “a payment is
considered ‘behested’ . . . if it is made at the request, suggestion, or solicitation of, or made in
cooperation, consultation, coordination or concert with the public official and for legislative,
governmental or charitable purpose.” Accordingly, Ms. Ravel will testify that the Lefty
O’Doul’s donations described in the Superseding Indictment as payments requested by
Mohammed Nutru to Lefty O’Doul’s to fund the DPW holiday party are behested payments. To
that end, such payments were “consistent with the state and local law regarding behested
payments” as indicated in Ms. Ravel’s report. Ms. Ravel will not testify to whether the Lefty
O’Doul’s payments were ultimately unlawful payments in that they were used for some unlawful
end — i.e. to bribe or otherwise. We believe it is important for the jury to understand the
definition, context and circumstances surrounding behested payments prevalent at the time Mr.
Porter approved the Lefty O’Doul’s payments, which form the central allegations in the
Superseding Indictment. Without Ms. Ravel’s testimony, the jury would be left to draw the
incorrect inference that the form of a behested payment was itself prohibited and thus must, by
its nature, have been unlawful. The bases of Ms. Ravel’s opinion, as discussed above, are her
knowledge and experience with behested payments and the state and local rules cited throughout
the report including the California Fair Political Practices Commission rules discussed above.

Regarding bullet points 4 and 5 on page 2 of your March 2, 2023 letter, Rule 16 does not
require that we provide a list or copy of documents reviewed by Ms. Ravel. Nevertheless, the
documents used by Ms. Ravel are cited in her report with links and in many instances attached in
the Appendix which is over 300 pages. At this time, we do not intend to introduce any
documents through Ms. Ravel that are not cited in her report or attached thereto. If that changes,
we will promptly let you know.

As stated in her report, Ms. Ravel is qualified by her knowledge, skill, experience, and
education to opine on concepts central to the issues in this case including the definition, use, and
prevalence of “behested payments” during the relevant time period. (See Report pages 1-3).
Although the 2022 revisions to Rule 16 were designed to address the lack of adequate specificity
regarding what information must be disclosed and the amendments now require “a complete
statement of all opinions the expert will provide,” Rule 16 “does not require a verbatim recitation
of the testimony the expert will give at trial.” Fed, R. Crim. P. 16, Advisory Committee Notes.
Ms. Ravel’s report is more than sufficient to satisfy Rule 16’s requirements.
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